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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,          §
       Plaintiffs,                            §
                                              §
 v.                                           §   Case No. 5:21-cv-844-XR
                                              §
 GREGORY W. ABBOTT, et al.,                   §
      Defendants.                             §




    [PROPOSED] ORDER GRANTING STATE DEFENDANTS’ UNOPPOSED MOTION FOR
 ENLARGEMENT OF TIME TO FILE BRIEF IN RESPONSE TO OCA-GH PLAINTIFFS’ MOTION
                           FOR SUMMARY JUDGMENT


       Pending before the Court is State Defendants’ Unopposed Motion for Enlargement of Time

to File Brief in Response to OCA-Greater Houston Plaintiffs’ Motion for Summary Judgment. ECF

646. Upon review of this request, the motion is GRANTED.



SIGNED this ________ day of _______________________, 2023.




                                           HON. XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE
